       CASE 0:20-cr-00232-JRT-BRT Doc. 359 Filed 11/13/20 Page 1 of 12




                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                         Criminal No. 20-232(13) (JST/KMM)

 UMTED STATES OF AMERICA,

                     P1aintiff,                      PLEA AGREEMENT AND
                                                     SENTENCING STIPULATIONS
       v.

 BRYANT JARODE CRITTEN,

                    Defendant.

      The United States of America and defendant BRYANT JARODE CRITTEN

(hereinafter referred to as the "defendant") agree to resolve this case on the terms

and conditions that follow. This plea agreement binds only the defendant and the

United States Attorne/s Offrce for the District of Minnesota @ereinafter the "United.

States" or the "Government"). This agreement does not bind any other United States

Attorney's Offlce or any other fed.eral or state agency.

       1.    Charges. The d.efend.ant agrees to plead guilty to Count One of the

Indictment, which charges the d.efendant with conspiracy to commit mail fraud, in

violation of L8 U.S.C.   $S 1341, L349, and2326.   The defendant fully understands the

natute and. elements of the crime with which he has been charged..

      2.     Factual Basis. The defendant is pleading guilW because he is in fact

guilty of Count One of the Ind.ictment. In pleading guilty, the defendant admits the

following facts and that those facts establish his guilt beyond a reasonable doubt and

constitute relevant conduct pursuant to the Unitecl States Sentencing Guiilelines:


                                                                                  NED
                                                                          NOv 1   s 2020q
                                                                     u,s. DETRI0TCoURTST PAUL
      CASE 0:20-cr-00232-JRT-BRT Doc. 359 Filed 11/13/20 Page 2 of 12




      From in or about at least August 2013 through in or about February 2A20,      Ln


the State and District of Minnesota, and elsewhere, defend.ant Bryant Critten      did"


knowingly conspire with others known and unknown to devise a scheme and artifice

to defraud and to obtain money by materially false and fraudulent          pretenses,

representations, and promises, in connection with the conduct of telemarketing that

victimized ten or more persons over the age of 55, and for the puE)ose of executing

such scheme and artifi.ce, caused the sending, delivering, and receipt of various

matters and things by United States Postal Service and private and commercial

interstate carrier, in violation of fitle 18, United States Code, Sections 134L, L349,

and 2326.

      More specifically, defendant Critten participated in a telemarketing fraud

scheme involving magazine subscription sales. Defendant Critten worked as a

telemarketer for Leisure   fime   Resources Inc. (TrTR'),   a Florida-based company

involved   in fraudulent magazine sales. LTR was owed. by     co-defendants Anthony

Moulder and John Blalock. LTR operated. a telemarketing call center in Cape Coral,

Florida.

      LTR used fraudulent sales scripts to d,efraud victim-consumers, many of whom

were eld.erly or otherwise vulnerable, out of hunfueds or even thousand.s of dollars.

The fraudulsnt sales scripts were designed to induce consumers, through a series of

lies and misrepresentations, into making large or repeat payments to the companies.

As part of the scheme, Moulder and Blalock obtained lists of consumers who had'

active magazine subscriptions through other companies. Moulder, Blalock, Critten,
       CASE 0:20-cr-00232-JRT-BRT Doc. 359 Filed 11/13/20 Page 3 of 12




and their co-conspirators knew that many of the consumers on these lists were elderly

or otherwise susceptible to fraudulent and deceptive sales tactics.

      Bryant Critten participatecl in the conspiracy as a telemarketer. Blalock
provided. Critten with fraud.ulent scripts. At Blalock's direction, and using the scripts,

Critten called. the people on these lists and., through a series of knowing and

d.eliberate   lies and misrepresentations, signed them up for expensive magazine

subscriptions. Among other misrepresentations, Critten claimed-falsely-that he

was calling from the victim-consumers'existing magazine subscription company and

about an existing magazine subscription. Critten claimed-again falsely-that the

victim-consumers' account was set to renew for another 60 month term at miilnight,

at a higher billing rate. Critien offered to take the automatic renewal offthe account

and reduce the victim-consumers' monthly      filling rate. In reality, LTR often had no

existing relationship with the yictim-consumers and Critten was not calling about an

existing magazine subscription. Instead, he was calling to deftaud them by tricking

them into unwittingly signing up for entirely new magazine subscriptions.

      At times, and at the direction of Blalock, Critten would call lists of LTR         s


existing victim-consumers-or existing customers of the parent companies, including

Gulf Coast Read.ers Inc., ARCO Media Inc., and KMK Magazines Inc., and, using a

similarly fraudulent script, trick them into sigping up for additional magazine

subscriptions.

       In the course of the scheme, Blalock, Critten, and LTR defrauded thousands of

victims, including at least ten victims ovsr the age of 65. Between August 2013 and
        CASE 0:20-cr-00232-JRT-BRT Doc. 359 Filed 11/13/20 Page 4 of 12




February 2020, LTR collected approximately $9,466,948 from victims as a result of

this fraudulent scheme.

        3.    Waiver of Pretrial Motions. The d.efendant understands and agrees

that the defend.ant has certain rights to frle pre-trial motions in this case. As part of

this plea agreement, and based upon the concessions of the United States within this

plea agreement, the defendant knowingly, willingly, and voluntarily gives up the

right to frle any pre-trial motions in this   case.

        4,    Waiver of Constitutional Trial Rights. The defendant understands
that he has the right to go to trial. At trial, the d.efendant would be presumed

innocent, have the right to trial by jury or, with the consent of the United States and

of the Court, to   trial by the Court, the right to the assistance of counsel, the right to

confront and cross-examine adverse witnesses, the right to subpoena witnesses to

testify for the defense, the right to testifr and present evid.ence, and the right to be

protected. from compelled self-incrimination. The d.efendant understands that he has

the right to an attorney at every stage of these proceedings and., if necessary, one   will

be appointed to represent him. The defendant und.erstands that he has the          right to

persist in a plea of not guilty and, if he does so, he would have the right to a public

and. speedy    trial. By pleading guilty, the defendant knowingly, willingly,          and

voluntarily waives each of these trial rights, except the right to counsel. The

d.efendant understands     that a guilty plea is a complete and final admission of guilt

and,   if the Cowt accepts the guilty plea, the Court will adjudge the defendant guilty

without a trial.


                                               4
         CASE 0:20-cr-00232-JRT-BRT Doc. 359 Filed 11/13/20 Page 5 of 12




         5.     Additional Consequences. The defendant understands that as a
result ofhis conviction, he could experience additional consequences, such as the loss

of the   right to carry fi.rearms, the right to voto, and the right to hold public    offi.ce.


         6,     Statutory Penalties. The defendant understands that Count One of
the Indictment (conspiracy to commit mail fraud, in violation of 18 U.S.C. S$ 1341,

!349,2326) is a felony offense that carries the following statutory penalties:

                a.     a maximum of 30 years in prison;

                b.     a supervised release term of not more than 5 years;

                c.     a maximum fine of $260,000, or twice the gross gain or loss
                       caused by the offense, whichever is greatest;

                d.     restitution as agreed. to by the parties in this agreement; and

                e.     a mand"atory special assessment of $100.

         7.     Guidelines Calculations. The parties acknowledge that the defendant

will be sentenced in     accordance   with L8 U.S.C. S 3561, et seq. Nothing    i:n   this plea

agreement should be construed to         limit the parties from presenting any and all
relevant evidence to the Court at sentencing. The parties also acknowledge that the

Court    will consider the United     States Sentencing Guid.elines    in determining            the

appropriate sentence and stipulate to the following guidelines calculations. The

parties stipulate to the following guidelines calculations:

                       Base Offense Level. The parfies agree that the base offense level
                       is 7. U.S.S.G. S 281.1(a)(1).

                b.     Specific Offense Characteristics. The parties agree that the
                       offense level should be increased, by 18 levels because the loss was
                       more than $3.6 million but less than $9.5 million. U,S.S.G.
                       S 281.1(b)(1XO. The parties agree that the offense level should be
CASE 0:20-cr-00232-JRT-BRT Doc. 359 Filed 11/13/20 Page 6 of 12




           increased by 2 levels because the offense involved 10 or more
           victims and was committed through mass-marketing. U.S.S.G.
           S 281.1(b)(2XA).The parties agree that no other specific
                                                                    offense
           characteristics apply.

     c.    Chapter I Adjustments. The parties ag3ee that the offense level
           should be increased 4 leyels because the defendant knew or
           should have known that the offense involved. a large number of
           vulnerable victims. U.S.S.G. SS 3A1.1@)(L) and (2). The parties
           ag1ee that the offense level should be increased 2 levels because
           the defendant was a manager or supervisor of a criminal activity.
           U.S.S.G. S 381.1(t). The parties agree that, otherthan acceptance
           of responsibility, no other Chapter 3 adjustments apply.

     d.    Acceptance,   of   Responsibility. The government agrees to
           recommend. that the defendant receive a 2-level reduction for
           acceptance of responsibilif pursuant to U.S.S.G. S 3E1.1(a). As
           the defendant has timely notified the government of his intention
           to enter a plea of guilty, the government agrees to recommend
           that the d.efend.ant receive an additional 1-leve1 reduction
           pursuant to u.s.s.G. s 38L.1(b). whether these reductions willbe
           imposed shall be determined by the court in its discretion.
           However, the defendant understands and agrees that the
           government's recommend.ations are conditioned upon the
           following: (1) the d.efendant testifi.es truthfully dwing the change
           of plea and sentencing hearings; (2) the defendant provides full,
           complete and truthful information to the United States Probation
           offr.ce in the pre-sentence investigation; and (3) the defendant
           engages in no conduct inconsistent with acceptance of
           responsibility before the time of sentencing including frivolously
           denying facts in the Presentence Report. Nothing in this
           agreement timits the right of the government, pursuant to
           u.s.s.G. s 381.1 and/or $ 3c1.1 to seek deniai of a reduction for
           acceptance of responsibility or an enhancement for obstruction of
           justice should the defendant engage in any conduct inconsistent
           with acceptance of responsibility, including moving to withdraw
           his guilty plea after it is entered.

     e.    criminal History.CateEory. The parties believe that, at the time
           of sentencing, the defendart will fall into criminal History
           Category I. U.S.S.G. S 4A1.1. This does not constitute a
           stipulation, but a belief based. on an assessment of the
           information currently known. The defendant's actual climinal
           history and related status will be determined by the Court based,
        CASE 0:20-cr-00232-JRT-BRT Doc. 359 Filed 11/13/20 Page 7 of 12




                     on the information presented. in the Presentence Report and by
                     the parties at the time of sentencing. The defendant understands
                     that if the presentence i:rvestigation reveals any prior adult or
                     juvenile sentence which should be included within his criminal
                     history und.er the u.s. sentencing Guidelines, the defendant will
                     be sentenced based. on his true criminal history category, and he
                     will not be permitted to withdraw from this Plea Agreement.
                     u.s.s.G. s 441.1.

                     Guidelines Range.. If the adjusted offense level is 30, and the
                     criminal history category is I, the Sentencing Guidelines range is
                     97 to L2l months of imprisonment.

               g.    Fine Ranee.       If the adjusted offense level is 30, the Sentencing
                     Guidelines fi.ne range         is   $30,000   to   $300,000. U.S.S.G.
                     S   581.2(cXB).

        8.     Revocation of Supervised Release. The defendant understands that

if   he were to violate any condition of supervised release, the defendant could be

sentenced    to an additional term of imprisonment up to the length of the original

supervised release term, subject to the statutory maximums set forth           in   18 U.S.C.

s 3583.

        g.     Discretion of the Court. The foregoing stipulations are binfing on the

parties, but do not bind the Probation Offr.ce or the Court. The parties utderstand

that the Sentencing Guidelines are advisory and their application is a matter that

falls solely within the Court's discretion. The Court will make itg own determination

regarding the applicable Guictelines factors and the applicable criminal history

category. The Court may also depart from the applicable Guidelines range.              If   the

Court or the Probation Offi.ce determines that the applicable guideline calculations

or the d.efendant's criminal history category is different from that stated above, the
      CASE 0:20-cr-00232-JRT-BRT Doc. 359 Filed 11/13/20 Page 8 of 12




parties may not withdraw from this agreement, and the defenclant will be sentenced

pursuant to the Court's d.eterminations.

      10.      Agreements as to Sentencing Recommendation. The parties are

free to recommend whatever sentence they deem appropriate. The parties reserve the

right to make      a   motion for departures from the applicable Guidelines range pursuant

to 18 U.S.C.   S   3663(a), to oppose any such motion made by the opposing PartY, and to

argue for a sentence outside the applicable Guidelines range.          If the Court does not

accept the sentencing recommendation of the parties, the defend.ant        will have   no   right

to withdraw his guilty plea.

      11.      Special Assessment. The Guidelines require payment of a special

assessmeut     in the amount of $100 for      each felony count of which the defendant is

convicted., pursuant to Guideline S 681.3. The defendant agrees to pay the special

assegsment prior to sentencing.

       12.     Restitution Agreement. The d,efendant understand.s and agtees that

the Mandatory Victim RestitutionAct, 13 U.S.C.         S   3663.{, applies and that the Court

is required. to order the defendant to make restitution to the victims of his crimes.

The defendant agrees, including under 13 U.S.C. $ 3663A(a)(3), to pay $50,000 in

restitution to all identified vistims in this and related cases, regardless of              if   the

defendant specifically defrauded any particular victim. Restitution                    will be
apportioned to all identified victims, to be paid joint and several with all other related

defendants.




                                                8
      CASE 0:20-cr-00232-JRT-BRT Doc. 359 Filed 11/13/20 Page 9 of 12




      13.    Disclosure of Assets. The defendant will fully and completely disclose

to the United States Attorney's Offr.ce the existence and location of any assets in

which the defendant has any right, title, or interest, or over which the defendant

exercises control, directly or indirectly, including those assets held      by a   spouse,

nominee or other third   parff, or any business owned or controlled by the defendant.

The defendant agr"ees to assist the United States in id.entifying, locating, returning,

and transferring assets for use in payment of restitution fi.nes, and forfeiture ordered

by the Cour.t. The defendant agrees to complete a financial statement, agrees to

execute any releases     that may be    necessaly      for the United States to     obtain

information concerning the d.efendant's assets, and expressly authorizes the United

States to obtain a credit report on the d.efendant to evaluate his ability to satisfu

fi.nancial obligations imposed by the Cowt.     If   requested by the United States, the

defendant agrees to submit to one or more asset interviews or depositions under oath.

       14. Forfeiture.      The clefendant aglees to forfeit to the United.        States,

pursuant to 18 U.S.C. $ 981(aX1XC) in conjunction with 28 U.S.C. $ 2461(c), any

property, real or personal, which constitutes or is derived from proceeds traceable to

the mail fraud scheme charged in Count One of the Indictment. The defendant also

agrees to forfeit to the United States, pursuant to 18 U.S.C. $ 9S2(a)(8), anY real or

personal property used or intended to be used to commit, facilitate, or promote the

commission of the mail fraud. scheme charged         in Count One of the Indictment, and

any property constituting, d.erived. from, or traceable to the gross proceeds the

d"efendant obtained directly or indirectly as a result of   that offense.


                                            I
      CASE 0:20-cr-00232-JRT-BRT Doc. 359 Filed 11/13/20 Page 10 of 12




      The United States reserves its right to seek the direct forfeiture of specific

assets, a money judgment forfeitwe against the defendant, and the forfeiture of

substitute property pursuant to 2L U.S.C. $ 863(p).

      The defendant waives all statutory and constitutional                       d.efenses     to   the

forfeitures described herein and waives any right to contest or chaLlenge                       in   any

mannet (including direct appeal, habeas corpus, or any other means) such forfeitures

on any grounds.

       15.   Venue Waiver. Rocogpizing that the criminal cond.uct in this                            case


occurred. in the State and   District of Minnesota,   as   well   as   in various other states and

districts in the United States, the defend.ant waives all rights to challenge venue in

the State and District of Minnesota.

       L6.   Waivers of Appeal and Collateral Attack. The defendant hereby

waives the right to appeal any non-jurisd.ictional issues. This appeal waiver includes,

but is not limited to, the defendanf,s waiver of the right to appeal guilt or innocence,

sentence and restitution, and      the constitutionality of the statutes to which the

defend.ant is pleading' guilty. The parties agree, however,              that   excluded. from this

waiver is an appeal by defendant of the substantive reasonableness of a term of

imprisonment above 121 months of imprisonment, and an appeal by the government

of the substantive reasonableness of a term sf imprisonment below 97 months.of

imprisonment. The defendant also waives the right to petition under               2B   U.S.C.   S   2265

exceptbased upon a claim ofineffective assistance ofcounsel.




                                             10
        CASE 0:20-cr-00232-JRT-BRT Doc. 359 Filed 11/13/20 Page 11 of 12




        The defend.ant has discussed these rights with the defendant's attorney. The

defendant understands the rights being waived, and the defendant waives these

rights knowingly, intelligently, and voluntarily.

        17.   FOIA Requests. The d.efendant waives all rights to obtain, directly or

through others, information about the investigation and prosecution of this      case


und.er the Freedom of Information Act and the Privacy Act of   I974,6 U.S.C.   S$ 552,


6524.




                                           11
      CASE 0:20-cr-00232-JRT-BRT Doc. 359 Filed 11/13/20 Page 12 of 12




        18.        Complete Agreement. The defendant acknowledges that he has read

this plea agreement and has carefully reviewed. each provision with his attorney. The

defend.ant further acknowledges that he understands and voluntarily accepts every

term and condition of this plea agreement. This plea agreement, along with any

agreement signed by the parties before entry of the plea, is the entire agreement and

understanding between the United States and the defendant.


                                                 ERICA H. MaoDONALD
                                                 United States Attorney


                  tt
Date: ff?- | z-o
         tt
                                          BY:    JOSEPH H. THOMPSON
                                                 IIARRY M. JACOBS
                                                 MELINDAA. WILLIAMS
                                                 Assistant United States Attorneys



Date:   \t   \ n- ( r,o
                                                          JARODE CRITTEN




Date:   \I[2tr
             ['
                                                 Counsel for Defendant




                                            L2
